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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



 J. DOE 1, et al.,

                     Plaintiffs,
                                                   Case No. 8:25-cv-00462-TDC
          v.

 ELON MUSK, et al.,

                     Defendants.



                                     NOTICE OF APPEAL

       Defendants Elon Musk, in his official capacity, United States DOGE Service, and the

Department of Government Efficiency, now appeal to the United States Court of Appeals for the

Fourth Circuit this Court’s preliminary injunction entered on March 18, 2025, and the denial of

Defendants’ motion for clarification or modification. See Dkts. 73-75; 79.

Dated: March 21, 2025                Respectfully submitted,

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                                     Acting Assistant Attorney General

                                     DIANE KELLEHER
                                     Director, Federal Programs Branch

                                     CHRISTOPHER R. HALL
                                     Assistant Branch Director, Federal Programs Branch

                                     /s/ Joshua E. Gardner
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                                     U.S. Department of Justice
                                     Civil Division, Federal Programs Branch
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                        CERTIFICATE OF SERVICE

On March 21, 2025, I e-filed this document with the Court, which will email all parties.

                                     /s/ Joshua E. Gardner
